                  Case 18-12012-LSS              Doc 1031       Filed 10/15/20        Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

OPEN ROAD FILMS, LLC, a Delaware limited                         Case No.: 18-12012 (LSS)
liability company, et al.1,
                                                                 (Jointly Administered)
                                      Debtors.                   Re: Docket No. 1026

               ORDER GRANTING MOTION OF THE PLAN ADMINISTRATOR
                  TO FURTHER EXTEND TIME TO OBJECT TO CLAIMS

           Upon consideration of the motion (the “Motion”)2 of John Roussey (the “Plan

Administrator”), acting on behalf of Open Road Films, LLC, and its affiliated debtors and

debtors in possession (collectively, the “Debtors” and subsequent to the Effective Date (as

defined herein), the “Liquidating Debtors”) in the above-captioned bankruptcy case for entry of

an order (this “Order”) further extending the time by which the Plan Administrator has authority

to object to Claims; and upon consideration of the Motion having been given; and it appearing

that this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it

appearing that this proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it

appearing that venue of the proceeding and this Motion are proper pursuant to 28 U.S.C. §§ 1408

and 1409; and due and proper notice having been given; and no further notice being required;

and after due deliberation and sufficient cause appearing therefor, it is hereby

           ORDERED, that the relief sought in the Motion is granted; and it is further



1 The Liquidating Debtors and the last four digits of their taxpayer identification numbers include: Open Road
Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC (5873-Del.); Briarcliff LLC
(7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions LLC (9375-Del.). The Debtors’
address is 1800 Century Park East, Suite 600, Los Angeles, CA 90067. Additional affiliated entities, including, but
not limited to, IM Global LLC, Global Road Entertainment Television LLC (f/k/a IM Global TV LLC), Tang Media
Partners LLC, and Global Road Entertainment LLC, are not debtors in these Cases and have not commenced chapter
11 cases.
2   Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.



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                Case 18-12012-LSS      Doc 1031      Filed 10/15/20       Page 2 of 2




        ORDERED, that the Objection Deadline by which the Plan Administrator must object to

Claims is extended to and including January 15, 2021; and it is further

        ORDERED, that nothing in this Order shall prejudice the Plan Administrator’s right to

seek further extensions of the Objection Deadline from this Court; and it is further

        ORDERED, that this Court shall retain jurisdiction to hear and determine all matters

arising from the implementation of this Order.




                                                     LAURIE SELBER SILVERSTEIN
       Dated: October 15th, 2020                     UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware                      2
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